Case 1:14-ml-02570-RLY-TAB Document 19808 Filed 08/31/21 Page 1 of 2 PageID #:
                                 123168


                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  IN RE: COOK MEDICAL, INC, IVC FILTERS
  MARKETING, SALES PRACTICES AND                             Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                                       MDL No. 2570


  This Document Relates to Plaintiff(s)
  Anthony Stone

  Civil Case # 1:20-cv-02474



                     PLAINTIFF’S UNOPPOSED MOTION
     FOR LEAVE TO FILE AMENDED COMPLAINT AND SUBSTITUTE PARTIES



       Now comes the Plaintiff, by and through Plaintiff’s undersigned attorneys, and move for

leave to file amend complaint and substitute parties. All parties have consulted in good faith,

and Plaintiff hereby files this Unopposed Motion for Leave to File Amended Complaint and

Substitute Parties.

       WHEREFORE, THE ABOVE PREMISES CONSIDERED, Plaintiff respectfully

requests that this Honorable Court would grant the Motion for Leave to File Amend Complaint

and Substitute Parties and allow Plaintiff to file the attached First Amended Complaint.

                                             Respectfully Submitted:


                                             /s/ Jon C. Conlin
                                             Jon C. Conlin
                                             J. Curt Tanner
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Case 1:14-ml-02570-RLY-TAB Document 19808 Filed 08/31/21 Page 2 of 2 PageID #:
                                 123169



                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 31, 2021, a copy of the foregoing was served

 electronically and notice of the service of this document will be sent to all parties by operation

 of the Court’s electronic filing system to the CM/ECF participants registered to receive service

 in this matter. Parties may access the filing through the Court’s system.


                                              /s/ Jon C. Conlin
                                              Jon C. Conlin
